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AO 440 (Rey, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of Georgia

Ramona Thurman Bivins,

 

Plaintiffs)
Vv.

Felicia Frankiin, in her individual and official
capacities, Aleka Anderson, in her individual and
official capacities, Gail Hambrick, in her individual and
official capacities, and Clayton County, Georgia,

Civil Action No. 1:22-cv-4149

 

Ne ee Nee ee ee ee ee et ee”

Defendant(s)

SUMMONS IN A CIVIL ACTION
To: (Defendant’s name and address) Oe one her individual and official capacity
Ellenwood, GA 30294

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Edward D. Buckely and Andrew R. Tate
Buckley Beal LLP
600 Peachtree Street NE, Suite 3900

Atlanta, GA 30308

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

KEVIN P. WEIMER
CLERK OF COURT

s/Stephanie Wilsou-Bynum

Date: 10/18/2022

 

Signature of Clerk or Deputy Clerk

 

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:22-cv-4149

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Y. é 2 be is. o om,

was received by me on (date) Lo/ b [f. 3. ;

© [personally served the summons on the individual at (place)

 

Onl (date) or

 

Cj [left the summons at the individual’s residence or usual place of abode with (ame)

. a person of suitable age and discretion who resides there,

 

 

 

 

On (daze) , and mailed a copy to the individual’s last known address; or
C1 Iserved the summons on (name of individual) ac k fhe ck, Cony ty thy . who is
designated by law to accept service of process on behalf of (name of organization) Le J 4, big
on (date) —_/ /, / /2> : or
1 Treturned the summons unexecuted because ; or

 

OC Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: [\/ L LL thaw

Server's signature
dD, VA, dh hiace ss Senw-

vinted name and title

c (
/i7/ Por Bre
Dtlink CA FOF/d

Server’s address

 

Additional information regarding attempted service. etc:

as haat Gave feomr'estin fer Tak Hence h acyl Sorup'ce for AGL.

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